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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

-------------------------------------------------------)
UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )     Docket No. 21-cr-10157
                                                       )
MANISH KUMAR                                            )
_____________________________________)

                            MOTION TO WITHDRAW AS COUNSEL

         Undersigned CJA appointed counsel requests leave to withdraw from representation of

Defendant Manish Kumar (“Defendant” or “Kumar”) on the grounds that, pursuant to

Defendant’s motion for new counsel, the Court appointed CJA Attorney Gordon Spencer to

replace undersigned counsel on November 30, 2021.



                                                            Respectfully submitted,

                                                             /s/John F Palmer
                                                             John F. Palmer
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                                        CERTIFICATE OF SERVICE

        I, John F. Palmer, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participant(s) as identified on the Notice of Electronic Filing
(NEF) on February 1, 2022.

                                                      /s/John F. Palmer
